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                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA



   In re                                : CHAPTER 13
                                        :
   John Jones                           : BANKRUPTCY NO.: 17-15982-mdc


                             SUGGESTION OF DEATH


   TO THE CLERK OF COURT:

           It has been brought to our attention the the Debtor,
   John Jones is now deceased.



                                        Respectfully submitted,


                                        /s/ERIK B. JENSEN, ESQUIRE
                                        ERIK B. JENSEN, ESQUIRE
                                        Attorney for the Debtor
